              Case 3:09-cr-00116-LRH-WGC                 Document 124         Filed 11/01/11        Page 1 of 7
AO 245C (Rc%'
            .06/05)ArncndrdJudgmenlinaCriminalCase
       Sheqtl                                                                               (NOTE:IdrnlifvChaneeswil
                                                                                                                   h Asterisks(*J)
                                            IJNITED STA TES D ISTRICT C O UR T
                                                  DISTRICT OF NEVADA

UNITED STATES OF AM ERICA                                  AM END ED JUD G M EN T IN A CR IM INA L C A SE
        vs.                                                CA SE NUM BER:    3:09-CR-116-LRl1-W GC-3
JUAN DE LA ROSA-ALVAREZ                                    USM N UMBER:      43292-048
aka UrielAhum ada-polanco

DATE OF OR IG INAL JUD GM ENT:October24.20l1                                John B..lkoutsis.Retained .                    .
(orDateofLastAmended Judgment)                                              Defendant'sAttorney
REASO N FOR AM ENDM ENT:
()Correction ofSentenceonRemand                            ( )ModificationorSupervisionConditions(18U.S.C.j35634c)
         (l8:3742404l)& (2))                                         OR 3583(e)).
()ReductionofSentenccofChangedCircumstance.s               ( )ModificationoflmpostdTennofImprisonmcnlforExtraordinary
         Ftd.R.Crim.P.35(b))                                         andCpmpellingReasons(18U.S.C.j3582(c)(l))
()CcfrectionofSentenceWzSerltcncingCotlrl                  ( )Modificati/nofImptlscdTennoflmprisonmerltfor
        (Fed.R.Crim.P.35(a))                                        RttroactivetotheScntencingGuidelines18 U.S.C.j3582(c)(2))
(X)CorrectionofSentenceforClericalMistake                  ()DirectMotionto DinrictCourlPursuantto()28 U.S.C.j2255
        (Fed.R.Crim.P.36)                                           ()l8U.S.C.j35594/)(7)
                                                           ( )ModificationofRestitutionOrder(18U.S.C.j3664)
THX DEFEND ANT:                                                                               '
(X)     pledguiltyto countts)1ofthelndictmentGled 12/2/09                                               -.-                  '
()      plednolocontenderetocountts)                                          whichwasacceptedbythecourt.
()      wasfoundguiltyoncountts)                                          afterapleaofnotguilty.
Thedefendantisadjudicatedguilty oftheseosenses:
Title& Section '' '                  Nature ofO ffense                      Offense Ended                          Count
21U.S.C.841(a)(l),(b)(1)(B), Conspiracy toPossesswithlntentto 11/19/09                                  '          1
(B)(1)(C)and 845             DistributeandtoDistributeaControlled
                                     Heroin and Cocaine.

        Thedefendantissentencedasprovidedinpages2through 7 ofthisjudgment.Thesentenceisimposed
pursuantto theSentencing Reform Actof 1984.                                                                  '

()      Thedefendanthmsbeenfoundnotguiltyoncountts)
(X)     Countts)2.3.and4                       aredismissedonthemotion oftheUnited States.
      IT IS ORDERED thatthe defendantshallnotify the United StatesAttorney forthisdistrictw ithin 30 daysofany
changeofname,residence,ormailing addressuntila1lfines,restitution,costs,and special'assessm ents imposed by this
judgmentarefully paid.lforderedtopayrestitution,thedefendantshallnotify thecourtand UnitedStatesattorneyof
any materialchanges in economic circum stances.
                                                                   October24.2011                                                    '
                                                                   Date of-l position ofJudgment
                      FILED                RECEIVED
          -       .   EG ERED .            SERVEDON
                                                                    lgnatureofJudge
 .            .
                              cœ NsEtmxm EsCFRc.ccc
                                                                   LARRY R.H ICK S
                          k2V 2 12211                              u.s.olsnx c'rJUDGE
                                                                   Name and Title ofJudge
                       QEDRls
                            Kmm
                             USDI3
                                 OTFRm cœ Rr                         /Z / //                             .
                                   NIVADA
        BY:                                  np tn                 Date6     '
            Case 3:09-cr-00116-LRH-WGC           Document 124       Filed 11/01/11     Page 2 of 7

 AO 2458 (Rrv.09/08)JudgmrnlinaCri
                                 minalCase
          Sheet2-Imprisonmrn!                                          .
DEFENDA NT:               JUAN DE LA ROSA-A LVAREZ aka UrielAhulnada-polanco               Judgment-Page 2
CASE N UM BER:            3:09-CR-!16-LRH-W GC-3



        Thedefendantishereby comm itledto thecustody ofthe United StatesBureauofPrisonstobeiplprisonedfol.atotal
term of:FORTY FOUR (44)M ONTHS                                              -




()      ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:


(X)     Thedefendantisremandedtothecu'stodyoftheUnited StatesMarshal.
()      Thçdefendantshallsurrenderto theUnited StatesM arshalforthisdistrict:
        ( ) at                  a.m./p.m.on                         -        .
        ( ) asnotifiedbytheUnitedStatesM arshal.
()      The defendantshallsurrender for service ofsentence atthe institution designated by theBureau ofPrisons:
        ( ) before2p.m.on
        ( ) asnotifiedbythetlnitedStatesM arshal.
        ( .) asnotifiedbytheProbationofPretrialServicesOffice.

                                                 RETURN

lhaveexecutedthisjudgmentasfollouzs:



Defendantdelivered on                               to
at                                                                     ,withacertified copy ofthisiudgment.

                                                          UNITED STATES M ARSHAL

                                                          BY :
                                                                  Deputy United StàtesM arshal                     '
            Case 3:09-cr-00116-LRH-WGC                      Document 124            Filed 11/01/11       Page 3 of 7


 AO 2458 (Rm'09/0s)Judgmcn!inaCriminalCase
          Shet
             q3-Sltncnfi
                       sedReltasc
DEFEN DANT:                .
                           QJAN DE LA ROSA-ALVAREZ aka UrielA hum ada-polanco .                             Judgment-Page 3
CA SE NU M BER:            3'
                            .09-CR-ll6-LR11-W GC-3

                                                   SUPERVISED RELEASE

         Upon releasefrom imprisonment,.the defendantshallbe on supervised release fora term ofFO UR (4)')'E-ARS

        Thedefendantmustreportto theprobation officeiI1tht:districlto whicl!the defendantisreleased within 72 hours
ofrelease from the ctlstody oftlleBureau of-Prisons.                                            .

Thedefendantshallnotcomm italotherfederal,state,orIocalcrime.

TlleJefendantshallnotunlawfully possessacontrolledsubstance.The defendantshallrefrain from any uniawfuluse ofa
controlled substance.Thedefelldantshallsubmitto onedrugtestwithin 15daysofrelease from im prisonm entand atleast                          .
two periodicdrugtesf.sthereaftel'
                                ,nottoexcsed l04 drug tcstsannually.Revocation ism andatory forrefusalto com ply.

()      Theabovedrugtestingconditionissuspended basedontheoourt'sdeterminationthatthedefendantposesa low risk
        offuturesubstanceabuse.(Check ifappiicable.)
(X)     Thedefendantshallnotpossessqafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check
        ifapplicabie.)
(X)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationoffice.(Cheokzifapplicable.)
()      ThedefendantshallcomplywiththerequirementsoftheSex Offendel'RegistrationandNotification Act(42 U.S.C.
        j l6901,etseq.)Asdirected by theprobation office,theBureauofPrisons,orany statesex offenderregistration
        agency in which he o1'she resides.,works,is astudent,orwasconvicted of a qualifying offense. (Check,if
        applicable.)
()      Thedefendantshallparticipateinanapprovedprogran:fordomesticviolence.(Check ifapplicable.)
       lfthisjudgmentimposesafine ora restitution,itis acondition ofsupervised release thatthe defendantpay in
accordancewit.
             htheSeheduleofPaymentssheetofthisjudgment.
        The defendantm ustcomply with thestandard conditionsthathave been adopted by thiscourtasw ellas with any
additionalconditionson theattached page.

                                      ST               CO NDITIONS Ol7SUPERW SION
 I)     thcdcfendantshallnotleavcth:iudicialdistriclw'ithot!!tilepermissioneflhec/t?rtorprobatitm officc;
2)      thedefendanlshallreporltothcprobationoffictandshallsubmitalruthfulandcomplettwrittenreportwithinthefirstfivedaysofeachmonth'
3)      thedefendantshallanswtrtruthfbllyal1inquiriesb)'theprobaliollofficeandfollow theinstructionsoftheprobationoffice;
4)      ti
         ltdefendantshallsupponhisorherdcptndantsandmer!othcrfamilyresponsibililies;
5)      thcdefcndantshallworkrcgularlyatalawft!loccufmtfonunlessexcusedl7y,li'eprobalit  m omccftv schtmling lraiaing orotbcracceptable
        reasons;
6)      thedcftndan!shallnotif # thcprobationofficeatleasltendayspriortoanychangcinrtsidenceoremployment;
7)      tlledcftndanlshallrefrainfrom cxcessiveuseofalcoholandshalInotpurchm:e posstss,usc,dislributeoradminisleranycontrolledsubstance
        o!
         'any parapl
                   ltrnalia related toany controlled substances rxccptasprescrfbed b)zaphysici
                                                                                             an;
8)      thedeftndantshallnotfrequelllplaceswherccontrolledsubstanctsareillegallysold used distributed oradministered;
9)      thedefendantshallnotassociatewithanypcrsonsengagedincriminalactivity andshallnotassociatewithanypersollconvictedofafelony
        unlessgranted pennissiontodoso b)'tilcprobation office;
I0)    thtdefendantshallpermïtaprobationofficetovisithim orhcratanytimealhomecrrlsewllereandsha/lpermitccflfiscationofanyconlraband       .
       observed in plain view oftheprobalion ofticcl
ll)     thedefendantshallnotifytheprobationomccwithinsevenly-- ohoursofbeingarrestedorquestionedb)'alaw enforcementoffice;
12)     thedeftndantshallnolenterintoanyagreemenltoaclasaninformeroraSpecialagenloralaw enforcemenlagencywithoutthepermission
       ofti
          lecoun;and
13)    asdirectedbythtprobationofficethedefendantshallnolitvthirdpanicsof'risksthalmaybeoccasionedbythedefendanl
                                                                                                               ''scriminalrecord
       orpersonalhistoryorcharacterislics m1dshallptrmittheprobationofficetomakesuchnolificationsandtoconfirm thedefenllant'scompliance
       with such notification requirement.
               Case 3:09-cr-00116-LRH-WGC            Document 124        Filed 11/01/11     Page 4 of 7

    AO2453 (S
            Rh
             eeet
              h'.039/
                    08)zuljmtnlinaCrinli
                    -SuptrvlsedRelease
                                       nalCase                                  .
    DEFEND ANT:              JUAN DE LA ROSA-ALVAILEZ akaUrielAhum ada-polanco                 Judgment-Page 4
    CA SE NUM BER:           3:09-CR-116-LR11-W GC-3



                                         SPECIAL CO NDITIONS OF SUPERW SION

    l.      Possession ofh/eaoon -The defendantshallnotpossess,haveundel'his/hel'control,orhave accessto any firearm ,   '
            explosive device,oI.othel'dangerousweaponssasdefined b)'federal,state oI
                                                                                   'locallaw.

    2.     ImrnieratiollComoliallce-lfdefendantisdeported,heshallnotreenterthsUnitedStatesw ithoutlegalauthorization.
           lf defendantdoes reenterthe U nited States,with or withoutlegalauthorization,he shallreportin person to the
           probation office in the districtofreentry within 72 hours.

    3.     True Name-The defendantshalluse llistrue nam eatal1timesand willbe prohibited from the use ofany aiiases,
           false datesofbirth,socialsecurity num bers,places ofbidll,and any otherpertinentdemogl.
                                                                                                 aphic inform ation.

    4.     DenialofFederalBenefitsforDrucTraffickers-21U.S.C.862(a).Thedefendantshallbeineligibleforallfederal
           benefitsforapsriod ofTEN (10)S'EARS.
    5.     Reportto Probation OfficeA flerRelease from Custodv -lfnotdeported,defendantshallreporq in person,to the
'          probationofficein theD istrictto whioh heisreleased w ithin 72 hoursofdischarge from custody.
              Case 3:09-cr-00116-LRH-WGC                      Document 124       Filed 11/01/11   Page 5 of 7
  AO 2458 (Rrv09/08)Judgmcnti
                            nnCriminalCasc
             Shecl5-Crim inalM ontxarvPenalties
  DEFENDANT:                   D AN DE LA ROSA-ALVAREZ aka UrielAhumada-polanoo                      Judgment-Page 5
  CASE NUM BER:                3:09-CR-116-LRF1-W GC-3

                                              CR IM INA L M O NETA R Y PENA LTIES                                          .

            Thedefeltdantm ustpal'tlle tota!crilninalmonetarl'penaltiesundel'the scheduleofpaylnentson Sheet6.'                '

                                        Assessm ent                     F'ine                      R estitutitpn

            Totals:                     $100.00               .         SW AB/ED                   $N/A
                                        Dueand payable im lnediately.

 ()         Onmotionb)'theGovernmentsIT IS ORDERED thatthespeoialassessmentimposed bytheCourtisremitled.
 ()     Thedeterminationofrestitution isdeferred until                             .AnAmendedJudfo
                                                                                                 rmentinaCriminalCase
      ' (AO 245C)willbeenteredaftersucl)detennination.
 ()         Thedefelldantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesin theamountIisted
            below.      '

            lfthe defendantmakesapartialpayment,eachpayeeshallreceive an approximately proportioned payment,unless
            specified otherwiseinthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j
            3664(1),aIlnonfederalvictimsmustbepaid beforetheUnitedStatesispaid.          .
 NameofPavee                                      TotalLoss             Restitution Ordered        Prioritv ofPercentac
                                                                                                                      ae

Clerk U.S.DistrictCourt
Atm :FinancialOffice                                                                                                           '
CaseNo. 3:09-CR-116-LRI1-B/GC-3                                                                                                !
                                                                                                                               !
333 Las VegasBoulevard,South
LasVegas,NV 39l01

TOTALS                                 l          $                  $


Restitution amountordered pursuantto plea agreement: T

The defendantmustpay interestoI1restitution and afine ofmore than $2,500,unlessthe restitution o1'fine ispaid in full
beforethefifteenthdayaflel'thedateofiudgment,pursuantto 18U.S.C.j36l2(9.AIIofthepaymentoptionsonSheet6
maybesukiecttopenaltiesfol'delinquencyanddefault,pursuantto l!U.S.C.j3612(g).
The courtdeterm inedthatthedefendantdoesnothavethe ability to.pay interestand itisol'
                                                                                    dered that:

           theinterestrequirementiswaived forthe: ( )fine ( )restitution.                                          '
       .   tlleinterestrequirementfol'the: ( )fine ( )restitution ismodified asfollows:




*Findingsforthe totalamounloflossesare retluil'ed underChapters 109A,1l0, 1l0A,and )13A ofTitle 1s foroffenses
com mitted on orafterSeptember13,1994 butbefore April23,1996.
            Case 3:09-cr-00116-LRH-WGC             Document 124       Filed 11/01/11      Page 6 of 7
  AO 2458 (Rev09/08)JudgmenlinaCriminalCase
           Slwtl6-SchedulrorPavmcnls
  DEFENDANT:               IU A'
                           .   N DE LA ROSA-A LVAREZ aka UrielAhum ada-polanco                Judgment-Page 6
  CASE NUM BER:            3:09-CR-l16-LRH-W GC-3


                                              SCH EDULE OF PM M ENTS

 Having assessed thedefelldant'sability to pay,paym entofthetotalcrim illalmonetary penaltiesare due asfollows:     '

 A        (X)     Ltlmpsum paymentof.
                                    $ 100.00         Jneimmediatell',balancedue
                  ( ) notIaterthan                 ;oI'
                  ( ) inaccordal'cewitl)( )C:( )D,ol'( )E below)or
 B        ()      Paymentto beginimmediately(may becombined'with ( )Cj( )D,or( )E below;or
 C        ()     Paymentin                                 (e.g.,weckly,monthly,guarterly)installmentsof.$
                        overaperiodof                 (e.g.monthsol'years),to                  (e.g.,30oI'60 days)
                 afterthedateofthisjudgment;or
 D        ()     Paymentin          (e.g.,weekly,monthly cluarterly)installmentsof$        overaperiodof
                      (e.g.,monthsoryearsl,to'      ' (e.g.,30oI'60days)aflel'releasefrom imprisonmenttoatenm
                 issupervision;ol'

 E        Paymentduringtheterm ofsupervisedreleasewillcommencewithin                (e.g.,30 or60 days)afterrelease
          from imprisonm ent.Thecoul'twillsetthepaymentplanbased onan assessm entofthedefendant'sabilityto pay at
          thattim e;or

F        ()      Specfalinstructionsregarding thepayrnentofcriminalmonetary penalties:

Unlessthecourthasexpresslyordered otherwise,ifthisiudgmentimposesimprisomnent;paymentofcriminalmonetary
penalties is due during imprisonment. Allcrim inalmonetary penalties,exceptthosepaym ents made through the Federal
Bureau ofPrisons'lnmateFinancialResponsibiiity Program,arem ade to theclerk ofthe court.

Thedefendantwillreceive creditfol'aIlpaym ents previously madetoward any crim inalrnonetanzpenalties im posed.


()       JointandSeveral
         DefendantandCo-DefendantNamesand CaseNumbers(including defend'
                                                                      antnumber),TotalAmounk Jointand
         SeveralAmount,alld correspollding payee,ifappropriate.                                '


()       Thedefendantshallpaythecostofprosecution.
()       Thedefendantshallpaythefollowingcourtcostts):
()       Thedefendantshallforfeitthedefendalpt'sinterestin thefollowingpropertytotheUnited States:

PaymenlssllallbeappliediJ1thefollowingorder:(1)assessment:(2)restitutionprincipal,(3)restitutioninterest,(4)fine
principal,(5)fineinterest,(6)community restitution,(7)penalties,and(8)costs,including oostofprosecution and court
costs.
                                                                                                               h
       Case 3:09-cr-00116-LRH-WGC                Document 124   Filed 11/01/11    Page 7 of 7



    A0 245B (Rev09/08)-JudgmenlinaCriminalCase
             Sheet7-DenialorFcderalBtnefits                                                            .
    DEFENDAN T: JUAN DE LA ROSEA-A LVAREZ aka UrielAhumada-polanco Judgm ent-Page 7
    CASE NO .: 3:09-CR.116-LR.H-W GC-3
'
                                      DENIA L 0 F FE D ERA L BENEFITS
                          (ForOffensesCommitled OnorAfterNovember1s,l988)                                  .
    FOR DRUG TRAFFICK ER PUXSUANT TO 21U.S.C.j862
            IT IS ORDERED thatthedefendantshallbe:

    *(X3    ineligibleforalIfederalbenefitsforaperiod ofTEN (10JA'VEARS
    ()      ineligibleforthefollowing federalbenefitsforaperiodof
            (specify benefitlsl)

                                                     OR
    ()     Having detenninedthatthisisthedefendant'sthirdorsubsequentconviction fordistributionof
           controlled substances,IT IS ORDERED thatthedefendantshallbe perm anently ineligibleforaIl
           federalbenefits.

    FOR DRUG POSSESSORSPURSUANT TO 21U.S.C.j862(b)
           IT IS ORDERED thatthe defendantshall:

    ()     beineligibleforalIfederalbenefitsforaperiod of
    ()     beineligibleforthefollowing federalbenefitsforaperiodof
           (specify benetittsl)
    ()     successfuliycompleteadrugtestingandtreatmentprogram.
    ()     perform community service,asspecitiedintheprobationand supervisedreleaseportionofthis
           judgment.
           IS FURTI'
                   IER ORDERED thatthe defendantshallcomplete any drugtreatm entprogram and
    communityservicespecifiedinthisjudgmentasarequirementforthereinstatementofeligibilityfor                   .
    federalbenefits.

           Pursuantto21U.S.C.â862(d),tbisdenialoffederalbenefitsdoesnotincludeanlz
    retirement,welfare,SocialSecurity,health,disabilibz,veteransbenefit,publichousing,orother
    sim ilarbenefit,orany other benefitforwbich paym entsorsenricesare required foi-eligibility.
    Theclerkisresponsibleforsendingacopyofthispageand thefirstpageofthisjudgmentto;                    '
           U.S.bepartm entofJustice,O ffice ofJustice Programs,W ashington,DC 20531.
